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Attorneys for Plaintiffs

                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF NEW JERSEY

In re:
                                                CHAPTER 13
RANDALL S.D. JACOBS and
JILL W. JACOBS,                                 Case No.: 10-46222-RG

              Debtors,


RANDALL S.D. JACOBS and
JILL W. JACOBS,
                                                Adv. Pro. No.: 16-01528-RG
              Plaintiffs,

Vs.
                                                AMENDED ADVERSARY COMPLAINT
NATIONSTAR MORTGAGE, LLC d/b/a
MR. COOPER,

              Defendant.


         Plaintiffs, Randall Jacobs and Jill Jacobs (collectively “Plaintiffs”), by way of

Complaint against Defendant say as follows:

                                           PARTIES

         1.    Plaintiff Randall Jacobs ("Mr. Jacobs") is a Debtor in this joint Chapter

13 matter residing at 5 Hampton Court, Caldwell, New Jersey 07066.

         2.    Plaintiff Jill Jacobs (“Mrs. Jacobs") is a Debtor in this joint Chapter 13

matter also residing at 5 Hampton Court, Caldwell, New Jersey 07066.

         3.    Defendant Nationstar Mortgage,          LLC is a business organization

having offices located at 8950 Cypress Waters Boulevard, Dallas, Texas 75019.
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                           JURISDICTION AND VENUE

      4.     On November 23, 2010, Plaintiffs filed a voluntary joint petition for

relief under Chapter 13 of Title 11 of the United States Bankruptcy Code (the

“Bankruptcy Code").

      5.     This Court has subject       matter jurisdiction   over this adversary

proceeding and has personal jurisdiction over the Debtors pursuant to 28 U.S.C.

§ 157 and § 1334.

      6.     This adversary proceeding is a core proceeding arising under 11

U.S.C. § 101 et. Seq. and 28 U.S.C. § 157(b)(2)(A) and (O).

      7.     Venue is proper in this district pursuant to 11 U.S.C. § 1409.

              FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

      8.     On May 13, 2005, Plaintiffs borrowed $750,000.00 from Wilmington

Finance, Inc., a division of AIG Federal Savings Bank (the “Original Lender")

pursuant to a 30-year fixed interest rate promissory note bearing an initial interest

rate of 6.75% (the "Note"). The monthly principal and interest payment was

$4,764.49.

      9.     To secure repayment of the Note, Plaintiffs executed a Mortgage (the

"Mortgage") granting Original Lender a first priority security interest in real estate

located at 5 Hampton Court, Caldwell New Jersey 07066. The Mortgage was

recorded as Instrument No. 000005075671, at Book 10492 Page 816 in the county

recorder's office of Essex County, New Jersey.

      10.    On or about February 26, 2011, Original Lender assigned the

Mortgage to the Bank of New York Mellon Trust Company (the "Secured Creditor").



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      11.    BAC Home Loans Servicing, LP ("BofA"), now known as Bank of

America, N.A., was the previous servicer for the mortgage loan at issue. Defendant

Nationstar Mortgage, LLC ("Nationstar") succeeded BofA as the servicer of the

mortgage on or about July 1, 2013, until being replaced by Shellpoint Mortgage

Services, Inc. On December 19, 2018 BSC Financial Services is slated to become

the servicer of this mortgage.

      12.    On November 23, 2010, Plaintiffs filed a joint petition for relief under

Chapter 13 of the Bankruptcy Code          (the "filing date"). Plaintiffs' Chapter 13

repayment plan (the "Plan") was confirmed by Court Order entered on March 31,

2011 and contemplated a 100% distribution to creditors.

      13.    Pursuant to the terms of their Plan, Plaintiffs paid sixty consecutive

monthly payments to the Chapter 13 Trustee (the "Trustee"), and completed their

Chapter 13 repayment plan obligations with a final payment on or about November

15, 2015 and they received an Order of Discharge on or about June 3, 2016.

      14.    Approximately one year after the filing date, Plaintiffs applied for

participation in BofA’s mortgage modification program by complying with its

continuing and voluminous document requests.

      15.    By letter dated May 30, 2013, BofA informed Plaintiffs that they were

approved to enter into BofA's Trial Payment Plan (the "TPP") for mortgage

modification. The BofA TPP required Plaintiffs to make three (3) TPP payments for

the months of July, August and September 2013, each in the amount of $6,887.83.

Plaintiffs made each of the aforementioned TPP payments on a timely basis.

      16.    By separate letter also dated May 30, 2013, BofA informed Plaintiffs

that the escrow portion of their monthly payments was to increase from $1,567.18

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to $1,761.41 effective July 1, 2013. This letter also stated that the principal balance

was $674,393.99.

      17.    By letter dated June 11, 2013, BofA informed Plaintiffs that “the

servicing of [their] home loan had been transferred to Nationstar Mortgage LLC

on July 01, 2013.”       This notice indicated that “if you are currently being

considered for a loan modification . . ., your new servicer Nationstar Mortgage is

aware of your current status and will have all of your documents.”

      18.    By letter dated July 11, 2013, Nationstar informed Plaintiffs’ counsel

that it had “recently acquired” the Mortgage.

      19.     By letter dated July 12, 2013, Nationstar informed Plaintiffs that

"Nationstar Mortgage is now the servicer for your mortgage account." This notice

conflicted with the aforementioned July 11, 2013 notice from Nationstar, in which it

indicated that it had "acquired" the Mortgage.

      20.    By letter dated July 31, 2013, Nationstar gave Plaintiffs contact

information for their designated “ Single Point of Contact”, Naynay Russ ("Ms.

Russ"). This letter stated that Ms. Russ would "answer any further questions

regarding [their) loan status or possible assistance."

      21.    For the next f i v e months, Mr. Jacobs called and (so m e t im e s) faxed

Ms. Russ, but Ms. Russ never returned any of his calls or messages. However,

Mr. Jacobs did receive one telephone call from an unidentified agent or employee

of Nationstar who verbally confirmed that Nationstar “would honor the mortgage

modification agreed to by BofA”.

      22.    It was not until October 2013 when Mr. Jacobs was finally able to get

in contact with an individual named Justin Harmel, an employee and/or agent of

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Nationstar. Mr. Harmel further informed Mr. Jacobs that Nationstar would be

sending a mortgage modification agreement (the "Modification Agreement") to him

in the near future.

       23.    On      November    12,   2013,   Plaintiffs   received   a    Letter   of

Acknowledgment from Nationstar enclosing the Modification Agreement. This letter

stated in pertinent part that:

              "[b]y executing this Letter of Acknowledgment and the
              Modification Agreement, [Plaintiffs] are agreeing to make a
              qualifying payment of $0.00 for your Modification Agreement to
              become effective."

       24.    As the Plaintiffs were about to execute the Letter of Acknowledgment,

Mr. Jacobs discovered that the Modification Agreement overstated the principal

balance of the Mortgage by $35,429.04 to the incorrect amount of $709,823.03.This

overstated unpaid principal balance flatly contradicted the $674,393.99 contained

in BofA's March 30, 2013 letter without mention of its receipt of any of the three TPP

payments.

       25.    Because of the error in the principal balance due, Plaintiffs did not

execute or return the Modification Agreement to Nationstar. But after receiving the

conflicting and incorrect documentation from Nationstar, Mr. Jacobs attempted to

contact Ms. Russ in order to discuss the Modification Agreement and the

discrepancies contained therein. Once again, Mr. Jacobs did not receive a

response from Ms. Russ.

       26.    By email dated November 13, 2013, Mr. Jacobs advised Mr. Harmel that

although he had received Nationstar's Modification Agreement, the unpaid principal

balance contained therein had inexplicably been increased from $674,393.99 to

$709,823.03. Mr. Jacobs further advised that timely and increased amounts of
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mortgage payments constituting the Trial Payment Plan required by BofA had been

paid for July, August and September 3013, and that he was ready, willing and able to

continue making monthly payments. Lastly, Mr. Jacobs requested that Nationstar

provide him with an updated Modification Agreement based on a corrected unpaid

principal balance.

      27.     Mr. Jacobs did not receive a response from Nationstar to his November

13, 2013 email.

      28.     In or about December 2013, after many unanswered telephone calls

from Nationstar, Mr. Jacobs managed to speak with another Nationstar employee

and/or agent. During this conversation, Nationstar's employee and/or agent advised

him that Nationstar was in the process of preparing a revised and corrected

Modification Agreement, and that Nationstar would defer the next payment due until

it delivered the revised and corrected Modification Agreement to Plaintiffs. Despite

these assurances, Mr. Jacobs never received a further response of any kind from

Nationstar.

      29.     By certified letter and facsimile dated January 3, 2014, Mr. Jacobs

again contacted Ms. Russ and emphasized his frustration with Nationstar's lack of

communication, its failure to correct the overstated unpaid principal balance and to

send him a revised Modification Agreement as promised. Mr. Jacobs also attached a

copy of his November 13, 2013 email to Mr. Harmel for Ms. Russ's review. Mr.

Jacobs did not receive any form of response to his January 3, 2014 certified letter

or facsimile sent to Ms. Russ at Nationstar.

      30.     Despite Nationstar's failure to respond, Plaintiffs continued making

payments of principal and interest to Nationstar based on their own calculations as

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to the correct and agreed interest rate and resulting payments due. Shortly thereafter,

due to Nationstar’s continuing failure to respond, Plaintiffs increased these payments

to account for payment of property taxes, and directly paid the home insurance

carrier.

       31.   Plaintiffs    continued   to regularly   make   these   monthly mortgage

payments until early 2014.

       32.   In March 2014, due in large measure to the stress caused by

Nationstar’s default in responding and failure to correct the Modification Agreement as

agreed, Mr. Jacobs suffered a heart attack and underwent emergency open heart

surgery at Morristown Memorial Hospital. He was hospitalized for approximately

two (2) weeks, and was unable to operate a motor vehicle or return to employment

until the end of June 2014. As a result, Plaintiffs were only able to make

intermittent payments to Nationstar for several months.

       33.   Although Nationstar        continued to cash Plaintiffs' mailed payment

checks, it never once sent the them a bill, statement of account, notice or response

of any kind to their numerous inquiries. Mr. Jacobs attempted to go online to the

Nationstar website but was not permitted to access his account or make any

electronic payments.

       34.   In an effort to finally elicit a response from Nationstar, on or about

April 9, 2014, Mr. Jacobs filed a complaint with the State of New Jersey

Department of Banking & Insurance (the "Banking Department").

       35.   By letter dated April 16, 2014, the Banking Department advised Mr.

Jacobs that it had received his complaint, and that its investigative staff would

contact Nationstar to request a complete response to the issues he had raised.

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      36.    Notwithstanding the foregoing, Mr. Jacobs did not receive             any

communication from Nationstar regarding the monthly mortgage payments made

and/or missed, its promised revision of the overstated unpaid principal balance due

on the Mortgage, or a revised Modification Agreement. Thus, Plaintiffs have no way

of knowing the exact monthly mortgage payments due, the amounts credited and/or

deferred by Nationstar,     or the correct unpaid principal balance due on the

Mortgage.

                                    COUNT ONE
                                (Breach of Contract)

      37.     Plaintiffs repeat and incorporate by reference the allegations set f orth

in Paragraphs 1 through 37 of this Complaint.

      38.     The May 30, 2013 TPP was an offer by BofA to modify Plaintiffs' 2005

Note and Mortgage forming the basis for this action.

      39.     Plaintiffs accepted BofA's offer.

      40.     Plaintiffs complied with all requirements necessary to accept BofA's

offer to modify the terms of the 2005 Note and Mortgage, including without

limitation: timely making the three (3) required TPP payments to Nationstar for the

months of July, August and September of 2013.

      41.     Plaintiffs’ acceptance of BofA's offer formed a binding contract (the

"May 30, 2013 contract").

      42.     By offering the TPP, BofA had a duty to honor its terms and to provide

Plaintiffs with a Permanent Modification pursuant to same.

      43.     Nationstar, as successor to BofA, is obligated to honor the terms of

the TPP and to provide Plaintiffs with a Permanent Modification pursuant to same.


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      44.       Nationstar breached its duty to Plaintiffs under the May 30, 2013

contract by grossly overstating the unpaid principal balance, failing to correct the

unpaid principal balance despite being duly notified of its error and refusing to

provide the revised Permanent Modification as promised.

      45.      Plaintiffs suffered   economic damages         as a proximate result of

Nationstar's   conduct including     without limitation: loss of the benefit       of the

modification agreement, extracting money from him that he would not otherwise

have paid absent the TPP, increased and unnecessary arrears, harm to his credit

making obtaining of credit difficult, additional harm and unnecessary fees to his

mortgage balance, causing him to expend funds to defend a potential additional

foreclosure action, and causing him to expend funds related to medical treatment.

      46.      As a proximate result of Nationstar's conduct Mr. Jacobs suffered

non-economic      damages including     without limitation:    suffering   a heart attack

requiring medical intervention, an unsafe increase in his blood pressure, anxiety,

stress, fear of losing his home, lack of sleep, and inability to focus.

      47.      Mrs. Jacobs suffered economic damages as a proximate result of

Nationstar's   conduct including without        limitation: loss of the benefit of the

modification agreement, extracting money from her that she would not otherwise

have paid absent the TPP, increased and unnecessary arrears, harm to her credit

making obtaining of credit difficult, additional harm and unnecessary fees to her

mortgage balance and causing her to expend funds to defend a potential additional

foreclosure action.




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      48.     As a proximate result of Nationstar's conduct Mrs. Jacobs suffered

non-economic damages including, without limitation: anxiety, stress, fear of losing

her home, lack of sleep, and inability to focus.

      WHEREFORE, Plaintiffs demand entry of judgment against Nationstar as

follows:

      A.     Requiring Nationstar to provide Plaintiffs with a revised permanent

             mortgage modification pursuant to the terms of the May 30, 2013

             contract;

      B.     For compensatory and consequential damages;

      C.     For attorneys' fees and costs of suit; and

      D.     For such other and further relief as this Court deems just and proper.

                                  COUNT TWO
                           (Good Faith and Fair Dealing)

      49.    Plaintiffs repeat and incorporate by reference the allegations set forth

in Paragraphs 1 through 48 of this Complaint.

      50.    Both the initial mortgage documents and the May 30, 2013 contract

imposed a duty of good faith and fair dealing on Nationstar.

      51.    Nationstar breached its duty to Plaintiffs by grossly overstating the

unpaid principal balance in the Modification Agreement, repeatedly and continually

refusing in bad faith to communicate with Plaintiffs after being put on notice of its

error(s) and failing to correct those error(s)

      52.    Nationstar denied Plaintiffs the benefit of the bargain originally

intended by the parties by intentionally stringing out the modification process,

forcing them to incur costs and then ultimately           failing to issue a revised

Modification Agreement as promised.
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       53.     Mr. Jacobs suffered economic damages as a proximate result of

Nationstar's   conduct including     without limitation: loss of the benefit of the

modification agreement, extracting money from him that he would not otherwise

have paid absent the TPP, increased and unnecessary arrears, harm to his credit

making obtaining of credit difficult, additional harm and unnecessary fees to his

mortgage balance, causing him to expend funds to defend a potential additional

foreclosure action, and causing him to expend funds related to medical treatment.

       54.     As a proximate result of Nationstar's conduct Mr. Jacobs suffered

non-economic damages including without limitation: heart attack requiring medical

intervention, unsafe increase in his blood pressure, anxiety, stress, fear of losing

his home, lack of sleep, and inability to focus.

       55.     Mrs. Jacobs suffered economic damages as a proximate result of

Nationstar’s conduct including, without limitation: loss of the benefit of the

modification agreement, extracting money from her that she would not otherwise

have paid absent the TPP, increased and unnecessary arrears, harm to her credit

making obtaining credit difficult, additional harm and unnecessary fees to her

mortgage balance, and causing her to expend funds to defend a potential additional

foreclosure action.

       56.     As a direct and proximate result of Nationstar’s conduct, Mrs. Jacobs

suffered non-economic damages including, without limitation: anxiety, stress, fear of

losing her home, lack of sleep, and inability to focus.

       WHEREFORE, Plaintiffs demand entry of a judgment against Nationstar as

follows:

       A.      Requiring Nationstar to perform its obligations under the May 30,

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              2013 contract and issue a permanent mortgage modification               in

              accordance with same;

      B.      For compensatory and consequential damages;

      C.      For attorneys' fees and costs of suit; and

      D.      For such other and further relief as this Court deems just and proper.

                                   COUNT THREE
                          (New Jersey Consumer Fraud Act)

      57.      Plaintiffs repeat and incorporate by reference the allegations set

forth in Paragraphs 1 through 56 of this Complaint.

      58.      Plaintiffs and Nationstar are "persons" as that term is defined in the

New Jersey Consumer Fraud Act, N.J.S.A. 56:8-1, et seq. (the “CFA”).

      59.      Plaintiffs’ relationship with Nationstar arose out of a “consumer

transaction” as that term is defined in the CFA.

      60.     Nationstar violated the CFA by engaging in unconscionable, unfair

and deceptive commercial practices, misrepresentations and fraud, including but

not limited   to that described      in detail in the preceding       paragraphs,   and

summarized as follows:

              A. Participating in a mortgage modification program but failing to

                 honestly or effectively implement it;

              B. Refusing to honor the terms of the May 30, 2013 contract to

                 permanently modify Plaintiffs' mortgage despite their successful

                 completion and fulfillment of all requirements and/or obligations

                 pursuant to the TPP;

              C. Unjustifiably and unreasonably inflating the unpaid principal balance;


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             D. Unjustifiably and unreasonably failing to communicate with Plaintiffs

                after being notified of its errors.

             E. Unjustifiably,   unreasonably and repeatedly refusing to reply to

                Plaintiffs'   inquiries,   whether    they   were by telephone,   email,

                facsimile, certified mail or otherwise;

             F. Extracting and/or attempting to extract money from Plaintiffs that they

                would not have paid absent the TPP; and

             G. Filing a motion for relief from the automatic stay to permit foreclosure

                despite the May 30, 2013 contract to permanently modify Plaintiffs’

                mortgage.

      61.    Plaintiffs suffered    economic damages          as a proximate result of

Nationstar's misconduct including without limitation: loss of the benefit of the

modification agreement, extracting money from them that they would not otherwise

have paid absent the TPP, increased and unnecessary arrears, harm to their

credit making obtaining of credit difficult, additional harm and unnecessary fees to

their mortgage balance, causing them to expend funds to prosecute the within

action, and causing them to expend funds related to medical treatment.

      WHEREFORE, Plaintiffs demand entry of a judgment against Nationstar as

follows:

      A.     For compensatory and consequential damages;

      B.     For treble damages;

      C.     For attorneys' fees and costs of suit; and

      D.     For such other and further relief as this Court deems just and proper.



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                                   COUNT FOUR
                     (Violation of Real Estate Settlement and
                 Procedures Act (RESPA), 12 U.S.C. §2601, et seq.)

      62.     Plaintiffs repeat and incorporate by reference the allegations set

forth in Paragraphs 1 through 61 of this Complaint.

      63.     In a letter addressed to Nationstar dated January 3 ,2014, Mr. Jacobs

questioned Nationstar’s calculation of the balance due on his mortgage and his

monthly payment, “especially Nationstar’s miscalculation of the balance due.” In the

same letter Mr. Jacobs informed Nationstar that he was unable to access his account

online to make a payment, and that in the absence of receiving a monthly statement

from Nationstar he was “mailing yet another estimated payment (for December) in the

estimated amount of $4,500.” Mr. Jacobs concluded the letter by requesting Nationstar

to provide him with corrected “Loan Modification documents and corrected monthly

payment with calculations immediately.” Nationstar received this correspondence on

January 3, 2014 as confirmed by the telefax transmission report.

      64.     Due to Nationstar’s failure to respond to Mr. Jacobs January 3, 2014

letter, on April 4, 2014 Mr. Jacobs filed a complaint with the State of New Jersey

Department of Banking and Insurance in an effort to solicit Nationstar’s response.

      65.     Mr. Jacobs’ letter of January 3, 2014 contained the necessary

components to be considered a qualified written request (“QWR”) pursuant to RESPA.

      66.     Nationstar failed to acknowledge receipt of the QWR within five

business days as required by RESPA.

      67.     Nationstar failed to investigate the issues and concerns raised by Mr.

Jacobs in his January 3, 2014 correspondence, and failed to provide a written notice



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either that his account was being corrected or a written notice of the reasons Nationstar

believed the account was correct as required by RESPA.

       68.    As a direct and proximate result of Nationstar’s actions, Plaintiffs have

suffered economic and emotional damages, including but not limited to a damaged

credit rating that resulted in frustrating Plaintiffs’ efforts to refinance their mortgage,

loss of equity in their property, stress, embarrassment, and humiliation.

      WHEREFORE, Plaintiffs entry of a judgment against Nationstar as follows:

      A.      For actual damages;

      B.      For statutory damages permissible under 12 U.S.C. §2605(f);

       C.     For attorneys' fees and costs of suit; and

       D.     For such other and further relief as this Court deems just and proper.

                                     COUNT FIVE
                 (Violation of the Fair Debt Collection Practices Act
                         (“FDCPA”), 15 U.S.C. §1962 et seq.)

       68.    Plaintiffs repeat and incorporate by reference the allegations set forth

in Paragraphs 1 through 67 of this Complaint.

       69.    Plaintiffs are natural persons allegedly obligated to pay a debt making

them “consumers” pursuant to 15 U.S.C. §1692a(3).

       70.    The note and mortgage serviced by Nationstar are an obligation of the

“consumer” Plaintiffs to pay for property that is primarily for personal and family

purposes making it a debt pursuant to 15 U.S.C. §1692a(5).

       71.    Nationstar regularly collects or attempts to collect debts due another and

uses the mails in a business principal purpose of which is the collection of any debts

making Nationstar a “debt collector” as defined by 15 U.S.C. §1692a(6). Given the fact

that Nationstar became the loan servicer effective July 1, 2013, which is after Plaintiffs

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had defaulted on their note and mortgage and in the course of the Plaintiffs’

subsequent Chapter 13 bankruptcy case, Nationstar is not subject to the exemptions

for original creditors and mortgage servicers as the debt was in default at the time it

was obtained by Nationstar.

       72.     Nationstar has misrepresented the legal status of this debt, has

threatened to take action that cannot legally be taken, used false representations to

collect the debt, and has attempted to collect amounts not expressly authorized by

agreement or permitted by law in violation of 15 U.S.C. §§1692e and 1692f.

       73.     Mr. Jacobs’ January 3, 2014 letter represents a dispute of a portion of the

alleged debt claimed by Nationstar under the note and mortgage. Nationstar failed to

provide verification of the debt in response to the January 3, 2014 letter, but continued

to send additional collection letters and make additional collection demands, including

its relief from stay motion filed with the Bankruptcy Court on February 17, 2016, all in

violation of 15 U.S.C. §1692g.

       74.     As a direct and proximate result of Nationwide’s actions, Plaintiffs have

suffered economic and emotional damages, including but not limited to loss of real and

personal property, the loss of equity in their property, a damaged credit rating which

frustrated their efforts to refinance the note and mortgage, stress, embarrassment and

humiliation.

       WHEREFORE, Plaintiffs request entry of a judgment against Nationstar as

follows:

       A.      For actual damages pursuant to 15 U.S.C. §1692k;

       B.      For statutory damages at Plaintiffs’ election pursuant to 15 U.S.C.

               §1692k(a)(2);

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      C.       For attorneys' fees and costs of suit; and

      D.       For such other and further relief as this Court deems just and proper.

                                        COUNT SIX
              (Violation of Fair Credit Report Act, 15 U.S.C. §1681, et seq.)

      75.      Plaintiffs repeat and incorporate by reference the allegations set forth

in Paragraphs 1 through 74 of this Complaint.

      76.      Nationstar is a “person” as defined in 15 U.S.C. §1681a.

      77.      Upon information and belief, Nationstar regularly and in the ordinary

course of its business operations furnishes information to one or more consumer

reporting agencies about the consumer loans that it services.

      78.      Each of the Plaintiffs is a “consumer” as defined in 15 U.S.C. §1681a.

      79.      As of July 1, 2013, which is when Nationstar represents having taken

over the servicing and management of Plaintiffs’ mortgage loan, Nationstar acted as a

furnisher of information to consumer reporting agencies concerning Plaintiffs’ mortgage

loan. Thus, pursuant to 15 U.S.C. §1681s-2, Nationstar was prohibited from furnishing

any information relating to Plaintiffs’ mortgage loan to any consumer reporting agency

if Nationstar knew or had reasonable cause to believe that the information is

inaccurate.

      80.      Further, Nationstar was prohibited from furnishing information about the

status of Plaintiffs’ mortgage loan to any consumer reporting agency once Mr. Jacobs

notified Nationstar on January 3, 2014, at the address where he was directed to send

notice, that the loan balance reflected in Nationstar’s proposed loan modification

agreement presented to Mr. Jacobs in November 2013 was inaccurate.

      81.      Notwithstanding Nationstar ignoring Mr. Jacobs’ written demand issued to

on January 3, 2014 to provide him with a proper loan modification agreement
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containing correct figures, Plaintiffs tendered numerous mortgage payments to

Nationstar from 2014 to 2018 based on Mr. Jacobs’ estimate of what his monthly

payment would be had Nationstar honored the terms of the TPP, which included

reducing the interest rate from 6.75% to 5.5%. Nationstar accepted these payments.

       82.    Plaintiffs made several attempts to refinance the loan after Nationstar

became their loan servicer.      Initially, Plaintiffs received approval from Quicken’s

“Rocket Mortgage” program to refinance the entire balance claimed by Nationstar at

3.99% interest rate. However, Quicken added substantial additional charges and costs

to be paid at closing of which Plaintiffs had not been previously advised. In order to pay

such additional costs and charges, the Plaintiffs obtained a “homeowner’s line of credit”

(the “HELOC”) from Citizen’s Bank (in South New Jersey) in the amount of $75,000

and were prepared to use the funds in the HELOC to pay Quicken’s additional fees in

order to get rid of Nationstar as their mortgagee.

       83.    However, after some further inquiries, another private funding company

agreed to refinance the Nationstar mortgage without any “hidden” closing costs and

fees. Specifically, in March 2018 Plaintiffs made application to refinance their mortgage

loan with Bond Street Mortgage LLC, a mortgage broker based in Paramus, New

Jersey.

       84.    With the assistance of Bond Street Mortgage LLC, Plaintiffs received

preliminary approval for a refinance loan in the principal amount of $679,650 at 4.25%

and were preparing to close on the refinancing as soon as Nationstar responded to

Bond Street’s standard request for payment history.

       85.    According to a Supplemental Report prepared by Universal Credit

Services, on April 18, 2018 for Nationstar, Nationstar reported the status of Plaintiffs’

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mortgage loan to consumer reporting agencies as “still due for 11/1/15.”          In other

words, on April 18, 2018 Nationstar falsely reported that Plaintiffs had not paid their

Nationstar mortgage since November 1, 2015, when in fact Plaintiffs had made

numerous payments to Nationstar throughout 2014 to 2018 notwithstanding

Nationstar’s incorrect balance calculation and failure to respond to all objections.

       86.    The information furnished by Nationstar to consumer reporting agencies

on April 18, 2018 was inaccurate, and Nationwide had reasonable cause to know that

such information was inaccurate because of Mr. Jacobs’ prior letter issued to

Nationstar on January 3, 2014 demanding a corrected loan modification agreement

with accurate calculations.

       87.    Notwithstanding Mr. Jacobs’ repeated requests to provide him with a loan

modification agreement containing an accurate loan balance, Nationstar deliberately

and knowingly furnished consumer reporting agencies with inaccurate information

about the payment status of Plaintiffs’ loan while at the same time refusing to honor the

terms of the TPP as promised by the prior loan servicer BofA.

       88.    The aforesaid actions by Nationstar violate 15 U.S.C. §1681s-2(a)(1)(A)

and (B).

       89.    In addition, Nationstar’s failure to correct and update its inaccurate

furnishing of information to credit reporting agencies as to the payment status of

Plaintiffs’ mortgage loan violates 15 U.S.C. §1682s-2(a)(2)

       90.    As a direct and proximate result of Nationstar’s reporting of inaccurate

information about the status of Plaintiffs’ mortgage loan to consumer reporting

agencies, and its failure to update these inaccuracies when requested by Plaintiffs,



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Bond Street Mortgage, LLC. refused to close on Plaintiffs’ otherwise approved

refinancing.

       WHEREFORE, Plaintiffs request entry of a judgment against Nationstar as

follows:

       A.      Statutory damages, including punitive damages, pursuant to 15 U.S.C.

               §1681n(a) and (b);

       B.      For attorney’s fees pursuant to 15 U.S.C. §1681n(c);

       C.      Actual damages together with attorney’s fees and costs of suit pursuant

               to 15 U.S.C. §1681o(a).

       D.      For such other and further relief as this Court deems just and proper.

                                                 LOFARO & REISER, L.L.P.
                                                 Attorneys for Plaintiffs


                                                 By:_/s/ Glenn R. Reiser_____________
                                                        Glenn R. Reiser
Dated: June 27, 2019




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